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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 YELENA RUDERMAN,

                             Plaintiff,
                                                                  Case No. 19-CV-02987 (RJD)(RLM)
               - against -

 LAW OFFICE OF YURIY PRAKHIN, P.C., and                                  NOTICE OF MOTION
 YURIY PRAKHIN, ESQ., in his individual and
 professional capacities,

                             Defendants.




        PLEASE TAKE NOTICE upon the accompanying Memorandum of Law, the Affidavit

 of Affidavit of Yuriy Prakhin, sworn to on May 10, 2021, and the exhibits attached thereto,

 Affidavit of Irene Raskin, sworn to on May 10, 2021, and the exhibits attached thereto, Affidavit

 of Gil Zohar, Esq., sworn to on May 10, 2021, Affidavit of Erica Larsen, sworn to on May 10,

 2021, Affidavit of Patricia Belous, sworn to on May 10, 2021, the Declaration of Mary Ellen

 Donnelly, Esq., and all of the exhibits submitted herewith, Defendants Law Office of Yuriy

 Prakhin, P.C., and Yuriy Prakhin, Esq., (collectively, “Defendants”) will move this Court before

 the Honorable Raymond J. Dearie, United States District Judge for the Eastern District of New

 York, United States District Court, located at 225 Cadman Plaza East, Brooklyn, New York 11201,

 at a date and time to be designated by the Court for an Order pursuant to Rule 56 of the Federal

 Rules of Civil Procedure granting summary judgment in favor of Defendants and dismissing the

 Complaint of Plaintiff Yelena Ruderman in its entirety, and for such further relief as this Court

 deems just and proper.
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 Dated:   New York, New York
          May 11, 2021                      /s/ MED
                                          Mary Ellen Donnelly
                                          Nicole E. Price
                                          BOND SCHOENECK & KING PLLC
                                          600 Third Avenue, 22nd Floor
                                          New York, New York 10016
                                          (646) 682-0020

                                          Attorneys for Defendants
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 11th day of May, 2021, I have caused the

 foregoing Notice of Motion, Memorandum of Law, Affidavit of Yuriy Prakhin, Affidavit of Irene

 Raskin, Affidavit of Gil Zohar, Affidavit of Erica Larssen, Affidavit of Patricia Belous, and

 Declaration of Mary Ellen Donnelly, Esq., to be electronically filed with the Clerk of Court

 using the CM/ECF system which will send notification of such filing to all counsel of record.



                                                                 /s/ MED

                                                          Mary Ellen Donnelly
